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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------X
United States of America,

                                                          19 Cr. 374 (DAB)
                                                          MEMORANDUM & ORDER
               v.


Michael Avenatti,

                    Defendant.
---------------------------------------X
DEBORAH A. BATTS, United States District Judge.

          Defendant Michael Avenatti (“Defendant”) is charged in a two-

count Indictment with wire fraud and aggravated identity theft.

Defendant now moves to transfer this prosecution to the Central

District of California pursuant to Fed. R. Crim. P. 21(b). For the

reasons discussed below, Defendant’s Motion to Transfer is DENIED.

     I.     Relevant Background

            A. Indictment

          On May 22, 2019, the Government filed an Indictment charging

Defendant with one count of wire fraud and one count of aggravated

identity theft in violation of 18 U.S.C. § 1343 and 18 U.S.C. §

1028A (the “Indictment”). (Indictment, ECF No. 1.) The Indictment

charges Defendant with a scheme to defraud one of his clients at

that time (the “Client”) of approximately $300,000.00. (Indictment

¶¶ 1-2.) Defendant is an attorney licensed to practice in the state

of    California,      where   he   resides.   (Id.   ¶    3.)   In   April   2018,
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Defendant and a literary agent based in Manhattan, New York (the

“Agent”) assisted the Client in securing a book contract with a

publisher based in Manhattan, New York. (the “Publisher”). (Id. ¶¶

5-7.)

     Pursuant to the book contract, the Client was to receive four

installment payments as part of the book advance. (Id. ¶ 7.) On

August 1, 2018, prior to the Agent wiring the second of these four

installment payments, Defendant sent a letter, by email, to the

Agent purportedly signed by the Client, that instructed the Agent

to send all future payments to a client trust account in the

Client’s name and controlled by Defendant. (Id. ¶ 15.) The Agent

allegedly received this letter in Manhattan. (See Government’s

Mem. (“Govt.’s Mem.”) 2, ECF No. 20.) The Client was not aware of

and did not authorize or sign this letter. (Indictment ¶ 15.)

     Pursuant     to   the   instructions   in   the   letter,   the     Agent

initiated a wire transfer from Manhattan of $148,750.00 to the

account controlled by Defendant, which Defendant promptly began

spending for his own personal and business uses. (Id. ¶¶ 16-17.)

When the Client asked Defendant why the second installment had not

been received, Defendant allegedly lied to the Client, telling the

Client that he was still attempting to obtain the payment from the

Client’s publisher. (Id. ¶¶ 19-20.) Approximately one month after

diverting the payment, Defendant allegedly used funds recently

received from another source to pay $148,750.00 to the Client, so

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that the Client would not realize that Defendant had previously

taken and used the Client’s money. (Id. ¶ 21.)

     On    September   17,     2018,   pursuant   to    Defendant’s     earlier

fraudulent    instructions,      the   Agent   wired    another      payment   of

$148,750.00 to the client account controlled by Defendant. (Id. ¶

22.) This third installment of the Client’s book advance was

allegedly sent from Manhattan. (See Govt.’s Mem. 3.) The Defendant

promptly began spending the money for his own personal and business

uses. (Indictment ¶ 23.) To conceal his scheme, Defendant allegedly

led the Client to believe that the Publisher was refusing to make

the payment to the Agent, even though he knew that the Publisher

had made the payment to the Agent, who had then sent the money to

Defendant pursuant to Defendant’s fraudulent instructions. (Id. ¶¶

24-25.)

     On    May   22,   2019,    the    Government      filed   the    operative

Indictment. On August 29, 2019, Defendant moved this Court for an

Order transferring this prosecution to the Central District of

California. (Def.’s Mot. to Transfer, ECF No. 19.)                On September

11, 2019, the Government filed its opposition to Defendant’s Motion

to Transfer. (Govt.’s Mem., ECF No. 20.)



          B. The California Prosecution

     Defendant was also indicted in another criminal prosecution

currently pending in the Central District of California, see United

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States v. Avenatti, 19 Cr. 61 (JVS) (the “California Prosecution”).

In the California Prosecution, Defendant has been charged with 10

counts of wire fraud, 19 tax-related offenses, two counts of bank

fraud, four counts of bankruptcy fraud, and one count of aggravated

identity theft. (See Govt.’s Mem. 4; California Indictment (“CA

Indict.”), United States v. Avenatti, 19 Cr. 61 (JVS) (C.D. Cal.

Apr. 10, 2019), ECF No. 16.) The California Prosecution involves

a wide-ranging course of conduct centered in California over a

course of five years. (see generally CA Indict.) The Indictment in

the   California    prosecution    alleges   that   Defendant    “embezzled

millions of dollars that should have been paid to clients, failed

to file income tax returns and failed to pay the Internal Revenue

Service (‘IRS’) millions of dollars in taxes, submitted fraudulent

loan applications that included tax returns never filed with the

IRS, and concealed assets from the Bankruptcy Court.” (Govt.’s

Mem. 4.) The five victims in the California Prosecution’s case

resided within the Central District of California during the events

at issue. (Id.)


  II.    DISCUSSION

      Federal Rule of Criminal Procedure 21(b) provides that “[f]or

the convenience of parties and witnesses, and in the interest of

justice, the court upon motion of the defendant may transfer the

proceeding as to that defendant . . . to another district.”              This


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rule vests broad discretion in the trial judge to determine whether

the interests of justice dictate a transfer.                     United States v.

Maldonado-Rivera, 922 F.2d 934, 966 (2d Cir. 1990), cert. denied,

501 U.S. 1211 (1991).        The “burden is on the moving defendant to

justify a transfer under Rule 21(b).” United States v. The Spy

Factory, Inc., 951 F. Supp. 450, 464 (S.D.N.Y. 1997) (citing United

States v. Aronoff, 463 F. Supp. 454, 456 (S.D.N.Y. 1978).

       The Supreme Court approved a set of criteria to be employed

in deciding whether to transfer a prosecution in the interests of

justice: (1) location of the defendant; (2) location of possible

witnesses; (3) location of the events likely to be in issue; (4)

location of documents and records likely to be involved; (5)

disruption      of   the   defendant’s        business     unless   the   case   is

transferred; (6) expense to the parties; (7) location of counsel;

(8) relative accessibility of the place of trial; (9) docket

conditions; and (10) any other special factors. See Platt v.

Minnesota Mining Co., 376 U.S. 240, 244 (1964). An examination of

each of the Platt factors makes clear that this prosecution should

not be transferred.

     1. Location of the Defendant

       Courts recognize that, “it can be a hardship for a defendant

to face a trial far away from home and from appropriate facilities

for defense. . . . It has been stated, therefore, that as a matter

of    policy,   a    defendant   should       ordinarily    be   tried,   whenever

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possible, where he resides.”           Aronoff, 463 F. Supp. at            457

(citations and internal quotations omitted); see also Spy Factory,

951 F. Supp. at 455-56 (collecting cases). However, it is also

well-established that “the inconvenience of having to stand trial

outside of one’s home district, without more, is insufficient to

warrant a transfer.” United States v. Coriaty, No. 99 Cr. 1251,

2000 U.S. Dist. LEXIS 11040, at *5-6 (S.D.N.Y. Aug. 7, 2000)

(internal quotation marks and citations omitted).

      Defendant baldly asserts that the inconvenience of having to

stand trial in this District rather than in California, where he

resides, weighs “heavily” in favor of transfer. It does not. He

does not claim that he is unable to afford the expenses of

defending his case in this District. Defendant is also defending

other criminal allegations in addition to this case, including

another case in this District in which he did not seek a change of

venue. See United States v. Avenatti, 19 Cr. 373 (PGG). Traveling

to New York for the trial1 in this case is not that much more

disruptive to Defendant when he is already traveling to New York

to defend these other criminal allegations in this District.2 Thus,



1 The Government estimates its case-in-chief to be one week. (See Govt.’s Mem.
19.) This does not take into account the Defense case or rebuttal case.

2 The Government is incorrect in arguing that Defendant admits to spending much
of his time “traveling.” (See Govt.’s Mem. 7). Defendant argues that conducting
business would be burdensome if he had to travel to New York to defend the
charges in this case. (See Def.’s Mem. 7.) While Defendant’s argument does not
persuade this Court to grant transfer for the reasons explained in this
Memorandum and Order, the Government misconstrues Defendant as “admitting” to

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while Defendant’s residence favors, however slightly, transfer to

the Central District of California, a trial in this case in New

York is not so disruptive as to warrant transfer to the location

where Defendant resides.

    2. Location of Witnesses

      The second Platt factor, the location of witnesses, disfavors

transfer as well. The Government anticipates calling at least two

witnesses central to Defendant’s conduct at issue – the Agent and

the Publisher who are both based in Manhattan.3 Defendant argues

that the “vast majority” of the witnesses in this case reside in

California    because   the   fraud   proceeds    were   given   to   various

California residents and businesses. (Def.’s Mem. 5.) However, he

incorrectly characterizes the conduct at issue as his receipt and

spending of the fraud proceeds. Rather, Defendant’s conduct at

issue is how he carried out his fraudulent scheme through email,

letter, and other communications with the Client, the Agent, and

the Publisher. Thus, the witnesses to this scheme, who are based

in Manhattan, rather than the witnesses to the receipt and spending

of the fraud proceeds will proffer the core testimony at trial.


spending most of his time travelling outside of defending the criminal charges
in this District.

3 The Government also indicates that it may call witnesses at trial who reside
in California but has not yet decided to do so. (Govt.’s Mem. 8 n. 1.) However,
because the Government is prepared to accommodate those witnesses and assume
the cost of their travel and incidental expenses in connection with this trial,
(see id. at n. 2.), the purported witnesses’ burden of travelling to this
District to offer testimony is substantially diminished. Thus, these unnamed
witnesses do not weigh in favor transfer.

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Moreover, the receipt and spending of the fraud proceeds can be

shown through documentary evidence, including bank records. To the

extent the Government offers evidence regarding the manner in which

Defendant spent the fraud proceeds, it would only need to call a

custodian of records to offer this documentary evidence at trial.

      Finally, Defendant argues that he intends to call unnamed

character witnesses at trial who reside in California. He does not

explain how many character witnesses he will call or how they will

be unable to testify because of the location of the trial. See Spy

Factory, 951 F. Supp. at 456 (“[A] naked allegation that witnesses

will be inconvenienced by trial in a distant forum will not suffice

for   transfer.    Defendants      must   offer   specific    examples    of

witnesses’ testimony and their inability to testify because of the

location of the trial.” (citations and alterations omitted)).

Consequently,     transfer    is    unwarranted    based     on   the    mere

possibility that unnamed, purported character witnesses will be

unable to testify because of the location of the trial.

  3. Location of Events at Issue

      The third Platt factor, the location of the events likely to

be in issue, strongly disfavors transfer. Defendant’s conduct at

issue - his scheme to defraud through email, letter, and other

communications with the Client, the Agent, and the Publisher -

occurred primarily in Manhattan. The Client entered into a book

deal with a Manhattan-based publisher. Defendant allegedly made

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false representations, in a fraudulent letter, to the Agent, which

the    Agent    received     in   Manhattan.    Pursuant    to     Defendant’s

fraudulent instructions, the Agent and the Publisher, both based

in Manhattan, sent money to Defendant via wire transfer from

Manhattan. Even though Defendant later diverted fraud proceeds to

bank accounts held in California-based banks, the bulk of the

alleged crime occurred in Manhattan. Once again, the manner in

which the fraud proceeds were spent and to whom they were disbursed

are not the Government’s principal allegations. Thus, the location

of the events in issue strongly disfavors transfer.

  4. Location of Documents

       The fourth Platt factor, the location of relevant documents,

is of little consequence. Modern developments in electronics and

computers      render    documents   readily   available   to    a   defendant

wherever he is located. See United States v. Pastore, 2018 U.S.

Dist. LEXIS 5349, *10 (S.D.N.Y. January 11, 2018) (“[T]he location

of documents and records is not a major concern in these days of

easy   and     rapid    transportation[.]”     (quoting   United     States   v.

Brooks, No. 08-CR-35 (PKL), 2008 U.S. Dist. LEXIS 58101, 2008 WL

2944626, at *2 (S.D.N.Y. July 31, 2008) and citing United States

v. Estrada, 880 F. Supp. 2d 478, 484 (S.D.N.Y. 2012))); Coriaty,

2000 U.S. Dist. LEXIS 11040, at *9 (finding that the location of

relevant documents “is not a major concern in these days of rapid

transportation” (citing Spy Factory, 951 F. Supp. at 458)).

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      Here, the Government argues that the relevant documentary

evidence consists of written communications and financial records

which have already been produced to Defendant in electronic form.

(See Govt.’s Mem. 12-13.)      Because these electronic documents are

readily available and portable, this factor does not weigh for or

against transfer.

  5. Disruption of Defendant’s Business

      The fifth Platt factor, disruption of Defendant’s business,

does not favor either retaining of transferring the action. “While

loss of business is a factor favoring transfer, . . . a criminal

trial invariably imposes burdens upon a defendant and brings in

its   wake   dislocation   from   normal   occupational     and   personal

activities.” Coriaty, 2000 U.S. Dist. LEXIS 11040, at *9 (internal

quotation marks and citations omitted).

      Defendant, who is currently a member of the California State

Bar, argues that his practice is primarily based in California,

that he represents several clients in civil matters within the

Central District of California, and that an extended trial in New

York would impair his ability to attend hearings and meet with his

California clients. (Def.’s Mem. 7.) On the other hand, he has not

identified any specific matters or any scheduled hearings that

require his presence in California. Moreover, in the age of cell

phones, email, and fax machines, Defendant can communicate with

his clients while in New York for this case.

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       While Defendant’s membership in the California bar and his

California-based practice do weigh slightly in favor of transfer,

that he does not identify any reason to be physically present in

California to conduct his business during a trial in New York in

this   case    diminishes       the   weight    of   this    factor    in    favor   of

transfer. Thus, this factor, on balance, is also neutral.

  6. Expense to the Parties

       The sixth Platt factor, the expense to the parties, weighs

against transfer. Defendant argues that he will “incur significant

financial      expense     in     defending      against      multiple        criminal

allegations in California and New York.” (Def.’s Mem. 7.) Defendant

has    not   claimed     that    he   is   unable      to   afford    the    costs   of

transportation and lodging for a trial in New York for himself or

his counsel, nor is he proceeding as indigent in this prosecution.

Therefore, his bald assertion that he will incur significant

expenses, without more, does not weigh in favor of transfer. See

Aronoff, 463 F. Supp. at 459 (finding that transfer is only

appropriate where the defendant “cannot afford to travel to New

York and live here” during trial).

       Moreover,   Defendant          ignores    the    significant         costs    the

Government would incur if it were required to prosecute this action

in California. Manhattan-based witnesses central to Defendant’s

conduct at issue as well as the entire prosecution team – including

several      Assistant    United       States    Attorneys,      paralegals,         and

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multiple law enforcement agents - would be forced to relocate to

California for the duration of the trial.4 This factor thus weighs

against transfer.

    7. Location of Counsel

      The seventh Platt factor, the location of counsel, weighs

against transfer as well. Defendant has retained a California-

based lawyer. The Government argues that “[t]he location of his

counsel, to the extent it is inconvenient for the defendant, is an

inconvenience     occasioned    solely      by   the   defendant   through   his

choice of counsel.” (Govt’s Mem. 16.) We agree.5 Thus, defense

counsel’s location does not favor transfer.




4 To the extent Defendant argues that relocating the prosecution team would not
be necessary because the case may be consolidated and tried together with
another pending case against him in California, he is wrong. First, even if
this Court granted the instant Motion to Transfer, which we do not,
consolidation in the Central District of California is not guaranteed. Moreover,
as discussed further in the tenth Platt factor’s analysis, this case should not
be consolidated as the conduct alleged, the structure, and the scope of both
cases do not overlap.

5 Defendant’s legal representation history in this case is unusual. In his first
appearance before this Court, he had a Federal Defender but sought to have an
attorney based in Florida, who had not filed a notice of appearance, to represent
him solely for the purpose of filing this instant Motion. That was denied.
Defendant then chose to hire an attorney from California even though the charges
relate to alleged crimes committed here. Thus, to move to transfer because his
attorney is from California is strikingly similar to a defendant who kills both
his parents and then throws himself on the mercy of the Court because he is an
orphan.


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    8. Accessibility of Place of Trial

      The eight Platt factor, the accessibility of place of trial,

does not favor transfer.           Manhattan is clearly one of the most

accessible locations in the United States with three major airports

and a variety of other public transportation. Therefore, this

factor does not weigh in favor of transfer.6 See United States v.

Percoco, No. 16 Cr. 776, 2017 U.S. Dist. LEXIS 203580, at *46

(S.D.N.Y. Dec. 11, 2017) (denying transfer because, inter alia,

“New York City is clearly an accessible transportation hub”);

United States v. Christian, 2012 U.S. Dist. LEXIS 48527, at *4-5

(denying      transfer    because,    inter   alia,   “New   York   is   easily

accessible by air with three major airports, as well as a variety

of other public transportation”).

    9. Docket Conditions of the District Courts Involved

      By Defendant’s own admission, this District has a well-

managed docket and the ability to hear this matter. (See Def.’s

Mem. 8.) This factor thus does not weigh in favor of transfer.

    10.        Special Circumstances

      Having failed to carry his burden as to transfer in the first

nine Platt factors, Defendant argues that the Indictment in this

prosecution is “virtually identical” to “certain counts” in the



6Defendant incorrectly conflates this Platt factor with the sixth Platt factor,
expense to the parties, and does not address the accessibility of place of
trial. Nevertheless, we have already explained why the expense to the Parties,
on balance, disfavors transfer.

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Indictment filed in the California Prosecution. His argument fails

in numerous ways.

     First, transferring this case to the Central District of

California does not necessarily “result in a single trial, with

one judge, and one set of prosecutors,” as Defendant argues.

Transferring this case to California even for the purpose of

consolidation would require the New York prosecution team to

relocate to California until any motion for consolidation is

decided; consolidation would not be automatic. For the reasons

discussed above, relocating the entire Manhattan-based prosecution

team would be unduly burdensome to the Government and would be

against the interests of justice. Moreover, Defendant’s reliance

on the Government’s joint scheduling letter in the California

Prosecution, (Def. Ex. 1 at 21, ECF No. 19-2), is misplaced. That

letter did not commit the California prosecutors or the California

Court to consolidating the two cases. Indeed, the California

prosecutors only noted that the transfer should have no impact on

the trial date in the California Prosecution. (Id.)

     Second,   this   case   should        not   be   consolidated   with   the

California Prosecution because the prosecutions are not “virtually

identical” as Defendant alleges. Confusingly, he argues that the

indictments are only “virtually identical” only as to “certain

charges” that allege he defrauded a former client in some fashion

and used the alleged fraud proceeds to benefit himself or his

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businesses.7 The similarities end there. The fraudulent scheme

alleged in this case does not overlap with the schemes alleged in

the    indictment    in   the     California        Prosecution.           Indeed,   the

Government alleges that there is no overlap between trial witnesses

or evidence between this case and the California Prosecution.

Different    law    enforcement    agencies         and     different       prosecutors

separately conducted the investigations that led to the two sets

of    charges.   (See   Govt.’s    Mem.      19.)    Moreover,       the     California

Prosecution focuses on conduct centered around California whereas

this prosecution focuses on conduct centered in Manhattan.

       Moreover,    the   structure       and       scope       of   the     California

prosecution differs substantially from the structure and scope of

the instant prosecution. This case is a straightforward fraud case

involving one victim, concerns a narrow course of conduct that

lasted for approximately eight months, and was brought as a two-

count Indictment. On the other hand, the California Prosecution

involves five victims, concerns a wide array of alleged criminal

conduct,    including,     but    not     limited         to,    tax,      bank   fraud,

obstruction, and false statements offenses that lasted over a five-

year period, and was brought as a 36-count Indictment.



7 It is not uncommon for an alleged swindler to have used his fraud proceeds to
benefit himself or his businesses. Thus, using fraud proceeds for personal and
business uses is not a basis for similarity between schemes to defraud.
Moreover, as we discussed earlier, how Defendant spent the fraud proceeds is
not central to the Government’s principal allegations regarding Defendant’s
conduct at issue in this prosecution.

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      Therefore,      Defendant’s     appeal   to   special     circumstances,

having failed to carry his burden with the traditional, nine Platt

factors, fails as well.8



      After careful consideration of each Platt factor, the Court

finds, that, on balance, Defendant has failed to sustain his

burden. Only one factor, Defendant’s residence weighs slightly in

favor of transfer. The remaining named factors are either neutral

or weigh against transfer. Moreover, this forum’s interest in

prosecuting crimes committed, investigated, and charged in this

forum     outweighs    the   slight     business,     travel,    and    lodging

inconveniences for Defendant. Accordingly, Defendant’s Motion to

Transfer this prosecution to the Central District of California is

DENIED.

      III. CONCLUSION

      For the reasons stated above, Defendant Avenatti’s Motion to

Transfer is DENIED.



8 Defendant’s reliance on United States v. Gotti, 593 F. Supp. 2d 1260 (M.D.
Fla. 2008), is inapposite. The same crime has not been charged more than once
in New York, and again in a different District as it was in Gotti. By Defendant’s
own admission, the Government has not tried the same case twice because the
cases bear superficial similarities only as to “certain charges.” Moreover, as
we discussed above, the indictments have no overlap as to the conduct at issue
as it did in Gotti where the “New York indictments encompass[ed] every act
alleged in the Florida indictment.” Id. at 1264. The Client is not even a victim
in the California Prosecution. Indeed, Defendant does not allege that the
Government made any strategic effort to avoid bringing charges in the Central
District of California but rather, baldly asserts that he is “a high-profile
figure who has drawn the wrath of the Executive Branch and is receiving special
negative treatment.” (Def.’s Mem. 14.) The Court therefore sees no reason to
grant transfer based on Defendant’s reliance on Gotti.

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     A status conference is hereby set for Tuesday, October 8,

2019 at 2:30 PM, at which time counsel shall detail any substantive

motions that need to be made.

     The Court concludes that, pursuant to the Speedy Trial Act,

18 U.S.C. § 3161(h)(8)(A), the interest of justice is served by

exclusion of time between the dates of this Memorandum and Order

and October 8, 2019, and outweighs the best interests of the

Defendant and the public in a speedy trial.



SO ORDERED.

Dated:    September 24, 2019
          New York, New York




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